          Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 1 of 14




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                              REPLY IN SUPPORT OF
                    DEFENDANT’S MOTION TO COMPEL DISCOVERY

        Defendant Stephen K. Bannon, through undersigned counsel, respectfully submits

this Reply in support of his Motion To Compel Discovery [Doc. 28].1

                                                Summary

        The Government hopes that discovery is over. 2 With respect to grand jury materials, the

Government argues that additional information sought by the defense should be kept secret. They

rely on a general rule, but do not even attempt to dispute that the Protective Order issued in this

case alleviates all secrecy concerns. Instead, the Government argues that the defense has not stated

a particular need for the documents. This significantly undervalues the four separate bases for

additional grand jury discovery, namely: (1) Government transgression of the rules on seeking

attorney records; (2) Government misstatements of the law on intent; (3) misleading grand jury

testimony on whether Mr. Bannon sought an adjournment; and (4) misleading grand jury testimony


1
 On the topic of attorney records, we have filed a separate Defendant’s Reply To The Government’s
Opposition To The Defendant’s Motion To Compel Disclosure Of Government Efforts To Obtain
Telephone And Email Records of Mr. Bannon’s Attorneys. The Government enfolds its opposition to the
defense motion on that distinct topic at pages 10 to 15 of its omnibus opposition [Doc. 31].
2
 We attach Exhibit 1, a table that sets forth the positions taken by the Government and defense, in order to
assist this Court in tracking the various categories of information at issue.
         Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 2 of 14




on what constitutes a valid assertion of executive privilege. Given the Protective Order, secrecy

issues do not imbalance the scale. On the other side of the scale, however, are solid facts. Justice

requires disclosure.

       Moreover, the Government resists any search of U.S. Attorney’s Office files – or the files

of the White House, Main Justice, or Congress – for documents such as the OLC opinions we have

cited that state that a person in Mr. Bannon’s position has committed no crime. Although such

OLC opinions are offered as sacred texts when they are helpful, here the Government tries to

characterize them as water cooler musings. Controlling authority takes a different view. They are

binding on the Executive Branch, and thus on the U.S. Attorney’s Office. Local Rule 5.1(b)

mandates the disclosure of such information to the defense in the circumstances here.

       Likewise, the Government ignores Rule 5.1(b) in resisting the defense request that they

search beyond the handful of documents given to them by Congress. The Select Committee is not

like every other complainant. The statutory framework sets forth the specific steps Members of

Congress must take to initiate a Section 192 prosecution. Thus, Congress is part of the “prosecution

team” and the files of the people involved are discoverable. Any information found in those files

that is inconsistent with Mr. Bannon’s guilt as to an element of the offense (such as “willfully

makes default”), or any information that casts doubt on the accuracy of evidence to be used by the

Government to prove any element of the offense (such as the validity of the subpoena), must be

disclosed pursuant to Local R. Crim. P. 5.1(b)(1) and (4).

       Finally, the Government tries to recast the defense request for documents that show a

politically motivated prosecution under the rubric of “selective prosecution.” [Doc. 31, 24 to 28].

There is a high threshold to those discrimination claims. But contrary to the Government’s

position, the defense has made no “selective prosecution” claim. Thus, the caselaw on “selective



                                                 2
         Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 3 of 14




prosecution” is inapplicable. At this point, we have not asserted a defense of selective prosecution.

Rather, the authority for our discovery request on this type of information is the local rule. We

seek information that – among other things – tends to support any defense theory, and information

that casts doubts on the credibility or accuracy of any evidence. See Local R. Crim. P. 5.1(b)(3) &

(4). Public statements by the Select Committee members, the Speaker of the House, the Attorney

General of the United States, and the President, all indicate that this is a politically motivated

prosecution. Thus, it is not unreasonable for the defense to ask whether their private statements

are along the same lines. If so, they are discoverable.

                         The Protective Order Will Preserve Secrecy
                   If Grand Jury Instructions And Argument Are Disclosed

       The Government’s contention that materials generated in the course of the grand jury

proceeding should remain secret must be viewed with skepticism. For instance, the Government

has refused to provide materials related to its request for records under the Stored Communications

Act. What the Government fails to acknowledge, however, is that there is a “presumption of

access” to Stored Communications Act materials. Leopold v. United States, 964 F.3d 1121, 1130

(D.C. Cir. 2020). Upon examination, the Government’s secrecy claims pertaining to other

materials are just as specious.

       Distilled to their essence, grand jury disclosure cases turn on secrecy. Most are styled In re

Sealed Case – even the party names are secret because the grand jury is still at work, or because it

is a third party seeking disclosure. That is not the case here. Evidence has been presented and the

grand jury returned an indictment. What secrecy interest remains? Given that we have a Protective

Order in place, none. Secrecy is assured. Here the Government has provided everything but the

argument of the AUSA and the legal instructions. This information can be disclosed to the defense,




                                                  3
           Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 4 of 14




under the terms of the Protective Order, without concerns about grand jury secrecy. A veil is a

veil.

         Beyond that, the defense has met the standard for disclosure where there is no protective

order in place. We articulated the particular needs that we have for the information. What is a

particularized need? It is shorthand for a stated reason that outweighs the general rule of secrecy.

The defense has set forth its particular needs, any of which would be sufficient for disclosure of

the instructions and AUSA argument, as follows:

    •    The Government improperly abused the grand jury process to obtain telephone and email
         records of Mr. Bannon’s attorney, in violation of Mr. Bannon’s 6th Amendment rights, Mr.
         Costello’s privacy rights, the 6th Amendments right of Mr. Costello’s other clients, and the
         privacy rights of other “Robert Costellos” who had that name, but were not Mr. Bannon’s
         attorney; 3

    •    The Government has taken the position that “willfully makes default” means “received a
         subpoena and did not appear” – which misstates the law;

    •    The Government presented misleading evidence to the grand jury about whether Mr.
         Bannon sought an adjournment, a key point to be considered in determining whether Mr.
         Bannon “willfully ma[de] default”; and

    •    The Government presented misleading evidence on what constitutes a valid assertion of
         executive privilege.

Given these particularized facts, disclosure of additional grand jury information – pursuant to the

Protective Order – is warranted. 4


                                  Documents Showing That Mr. Bannon
                                 Committed No Crime Must Be Disclosed


3
  As to the Government’s actions to obtain Mr. Costello’s records, and secure his unwitting participation in an FBI
interview, we note that never in our collective experience have we seen so many lines crossed, so many rights trampled,
so much smoke blown – all in the vain hope of obtaining information that at its best would be of the slightest
evidentiary value.

4
  Even if this Court disagrees with our position on disclosure to the defense, we respectfully request that the Court
conduct an in camera inspection of the AUSA argument to and instructions to the grand jury, to determine what steps
are warranted under applicable law.

                                                          4
           Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 5 of 14




        In our motion we quote several public documents where the U.S. Department of Justice

informed the world that a person in Mr. Bannon’s position has not committed a crime. The

Government was aware of these documents before seeking an indictment, because Mr. Costello

provided them as authority in seeking a declination. We also believe that many other similar

documents exist in the Government’s files. But the Government does not want to search for, much

less turn over, these documents. The Government makes three arguments in support of its position

that it need not turn over additional documents containing such information. The Governments

argues that: (1) “reliance on the law is not a defense” [Doc. 31 at 9]; (2) even if reliance on the law

was a defense, any documents in the Government’s possession do not reflect what was in Mr.

Bannon’s mind [id.]; and (3) the Government is “aware of” no such documents within its files [id.

at 10]. These arguments are without merit.

        We address the first argument in our response to the Government’s motion on advice of

counsel and thus do not repeat it in full here. [Doc. 30] Suffice to say that if the Government loses

on its gamble that a 60-year-old opinion based on over-ruled caselaw is still viable, then the

Government must go back to the beginning and conduct a review of its files, and the files of the

White House, Congress, and Main Justice, with a reformed view of what is discoverable.

        The Government’s second argument is also misplaced. First, contrary to the Government’s

position, information is discoverable even if it would not be deemed “relevant” at trial. 5 See United

States v. George, 786 F. Supp. 11, 13 (D.D.C. 1991) (documents not directly related to guilt or

innocence are discoverable – they may lead to admissible evidence, aid in witness preparation,

corroborate testimony, etc.). Second, mens rea is not the sole issue in the case. The evidence will

not be limited to exactly what was in Mr. Bannon’s mind at the time he sought and relied upon


5
 The Government’s caselaw involving the relevance of trial evidence is inapposite. [Doc. 31 at 9] citing United
States v. Libby, 475 F. Supp. 2d 73 (D.D.C. 2007) and United States v. Passaro, 577 F.3d 207 (4th Cir. 2009).

                                                         5
         Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 6 of 14




Mr. Costello’s advice and the OLC’s pronouncements in responding to the subpoena. The evidence

will also include information that bears upon what it means to make a “default” after receiving a

subpoena. Thus, any documents that discuss that issue – whether they bear upon whether someone

in Mr. Bannon’s position has committed a crime, or speak to whether the subpoena here was

invalid – are discoverable. They tend to undermine the notion that Mr. Bannon’s actions

constituted “default.”

       Any document that supports the position that a former presidential advisor need not provide

documents or testimony when the President they served has asserted executive privilege tends to

negate Mr. Bannon’s guilt as to the element of “default.” This information is inconsistent with

guilt. The local rules mandate disclosure of such information. Rule Crim. P. 5.1(b)(1) (information

“to be disclosed” includes “[i]nformation that is inconsistent with or tends to negate the

defendant’s guilt as to any element . . . of the offense(s) with which the defendant is charged”)

(emphasis added).

       Another basis for disclosure is Local Rule of Crim. P. 5.1(b)(3), which mandates disclosure

of “[i]nformation that tends to establish an articulated and legally cognizable defense theory.” We

articulated several legally cognizable defense theories in our opposition [Doc. 30] to the

Government’s motion in limine on advice of counsel. Such defenses include public authority

theories, including entrapment by estoppel. Any government document that supports the position

that a former presidential advisor need not provide documents or testimony when the President

they served has asserted executive privilege tends to establish an articulated and legally cognizable

defense theory. Specifically, it would support the defense theory that Mr. Bannon has not

committed a crime given that the Department of Justice has for decades, across administrations




                                                 6
         Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 7 of 14




representing both major political parties, announced that a person in his position is legally justified

in acting as he did.

       The Government takes a very narrow view of its obligations and suggests that only a

document that sets out the precise factual scenario here could conceivably be discoverable. If the

Government’s position was correct, then they would have no obligation to turn over to the defense

a government document that reads as follows:

       A former presidential advisor who withholds documents and testimony from a
       congressional committee because the President they served has asserted executive
       privilege has not committed a crime.

Withholding such a document does not seem just. Conduct cannot be deemed criminal just because

a prior official pronouncement does not explicitly state every factual detail of the case in question.

Reading authority in concert provides guidance about what the law is. As applicable here, OLC

opinions and U.S. Attorney’s Office documents, when read together, make clear that Mr. Bannon

acted lawfully. See, e.g., [Doc. 20, Ex. 10 at 6] (“we will not prosecute an Executive Branch official

under the contempt of Congress statute for withholding subpoenaed documents pursuant to a

presidential assertion of executive privilege”); [Doc. 20, Ex. 11 at 129] (“the contempt of Congress

statute does not apply to executive officials who assert Presidential claims of executive privilege”).

Under the local rules, a document containing the italicized sentence above is discoverable. See

Local Rule of Crim. P. 5.1(b)(1) (inconsistent with or tends to negate the defendant’s guilt as to

any element) and 5.1(b)(3) (tends to establish an articulated and legally cognizable defense).

       In passing, the Government suggests that it is aware of no document that supports Mr.

Bannon’s claim that official DOJ opinions hold that he has committed no crime. [Doc. 31 at 10].

Obviously, the Government has not exerted itself in seeking documents on this topic, since the

defense has found many in the public domain. The Government contends that “the Defendant is



                                                  7
              Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 8 of 14




simply wrong about what the Government’s files contain,” since “the Government is aware of no

internal opinion or analysis that purports to excuse a private citizen from complying with a

congressional subpoena because he used to work in the Executive Branch and a former President

informed him of his belief that unidentified materials or information may be ‘potentially protected’

by privilege.” [Doc. 31 at 10]. Public sources – which we have cited – are exactly opposite to the

Government’s position in this case. In fact, Mr. Costello provided these very OLC opinions to the

prosecutors. He hoped to convince the prosecutors not to indict his client. But, unbeknownst to

Mr. Costello, his advocacy was foreclosed because the prosecutors deceived Mr. Costello into

thinking his communications were being received as arguments of counsel, when in fact the

prosecutors were surreptitiously treating him as a witness and a source of information against his

client’s interests. 6 It would take minimal effort for the Government to send an email to OLC, the

White House, and the Office of the General Counsel, U.S. House of Representatives, simply

attaching our document requests [Doc. 31, Ex. 1] and asking them to search their files for

responsive documents. That the Government does not want to shake the tree suggests a fear of the

fruit that will fall.

                                   Congressional Documents Showing The
                                Invalidity Of The Subpoena Must Be Disclosed

           The Government contends that the handful of congressional documents it has provided

constitute the universe of documents to be considered in this case. We disagree. Congress cannot

be permitted to initiate a prosecution under Section 192, see 2 U.S.C. § 194, and then unilaterally

decide to limit access to documents that would otherwise be available to the defense in any other

criminal prosecution. The Select Committee Members, and staff, the Speaker of the House, and




6
    The facts are set forth in our separate Reply on that issue, also filed today.

                                                               8
         Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 9 of 14




the General Counsel of the U.S. House of Representatives, all played a role in initiating this

prosecution. Given our requests, their files must be reviewed.

       Select Committee staff have selectively withheld key documents. For instance, under the

House Rules:

       11. A witness shall not be required to testify unless the witness has been provided
       with a copy of section 3(b) of H. Res. 8, 117th Congress, and these regulations.

[US-000010] (117th Congress Regulations For Use Of Deposition Authority, Jan. 4, 2021)

(emphasis added). Mr. Bannon never received a copy of section 3(b) of H. Res. 8. [Doc. 28, Ex. 9

at 4] (November 10, 2021, FBI Report of Interview of Kristin Amerling) (“A copy of Section 3(b)

was not provided to COSTELLO with the subpoena.”). Select Committee Chief Counsel and

Deputy Staff Director Kristin Amerling provided Mr. Bannon (though Mr. Costello) with 10 pages

of detailed and arcane instructions, including the subpoena. But she did not provide the specific

document required by the House Rules before a witness was required to testify. Why?

Rule 3(b) provides, in pertinent part, as follows:

       SEC. 3. SEPARATE ORDERS.

       (b) Deposition Authority.—

             (1) During the One Hundred Seventeenth Congress, the chair of a standing
       committee (other than the Committee on Rules), and the chair of the Permanent Select
       Committee on Intelligence, upon consultation with the ranking minority member of such
       committee, may order the taking of depositions, including pursuant to subpoena, by a
       member or counsel of such committee.

               (2) Depositions taken under the authority prescribed in this subsection shall be
       subject to regulations issued by the chair of the Committee on Rules and printed in the
       Congressional Record.

H. Res. 8, Adopting the Rules of the House of Representatives for the One Hundred Seventeenth

Congress, and for other purposes (emphasis added). This requirement applies to Select Committee

depositions. See Doc. 28, Ex. 7 at 12 (H. Res. 503, establishing the Select Committee)


                                                     9
        Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 10 of 14




(“Depositions taken under the authority prescribed in this paragraph shall be governed by the

procedures submitted by the chair of the Committee on Rules for printing in the Congressional

Record on January 4, 2021.”)

       One could be forgiven for thinking that the reason that Ms. Amerling provided voluminous

rules and instructions about the subpoena – but not the one key document required to be provided

to a witness under the House rules – was because the withheld document referenced a key witness

protection. The protection is that before taking a deposition, the chair of a committee must consult

with the ranking minority member. That protection is not available to any Select Committee

witness, because the Select Committee has no ranking minority member. [Doc. 28, Ex. 9 at 4].

       The omission of this key document – which bears on whether Mr. Bannon committed a

crime – provides support for the defense position that we are entitled to more from the files of the

Select Committee and its staff than they selectively provided to the U.S. Attorney’s Office.

       The Government must prove at trial as an element of the offense that the subpoena was

issued pursuant to valid authority. This means, among other things, that the rules of the U.S. House

of Representatives, and the rules of the Select Committee, were followed. It also involves whether

the Select Committee acted within its authority. In addition, valid authority involves the

consideration of whether the Select Committee issued a valid subpoena in this case and could seek

the testimony of Mr. Bannon without any consultation with a ranking minority member. We have

requested, and are entitled to receive, any document that bears upon that issue. Any information

that is inconsistent with Mr. Bannon’s guilt as to this element, or any information that casts doubt

on the accuracy of any evidence to be used by the Government to prove this element, must be

disclosed. See Local R. Crim. P. 5.1(b)(1) and (4).




                                                10
         Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 11 of 14




                         Documents Showing Bias or An Improper
                    Purpose In Prosecuting Mr. Bannon Must Be Disclosed

       The Government contends that it need only reveal bias information in time for the defense

to use it in the cross-examination of witnesses at trial. [Doc. 31 at 15 -17]. We disagree. The

Government’s obligations extend beyond Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v.

United States, 405 U.S. 150 (1972). Under the local rules, the Government must disclose

“[i]nformation that tends to establish an articulated and legally cognizable defense theory or

recognized affirmative defense to the offense(s) with which the defendant is charged.” Local Rule

Crim. P. 5.1(b)(3). It must also disclose “[i]nformation that casts doubt on the credibility or

accuracy of any evidence, including witness testimony, the government anticipates using in its

case-in-chief at trial.” Local Rule Crim. P. 5.1(b)(4). The Government has not even attempted to

explain how it could comply with those directives, yet not search for and disclose information that

tends to show that Members and staff of the Select Committee were biased against him, or that

they responded to political pressure in initiating this prosecution.


       In the unusual statutory framework here, Congress initiated the prosecution. See 2 U.S.C.

§ 194. The evidence relied upon by the Government in obtaining the indictment was limited to the

subpoena, and emails back and forth between Mr. Bannon’s lawyer and counsel for the Select

Committee (who sometimes included letters that on their face appear to be from the Chair of the

Committee). If any of that “evidence” was influenced by a person’s political bias against Mr.

Bannon, we are entitled to information that tends to show that bias. See Local R. Crim. P. 5.1(b)(3)

(tends to establish a defense theory) and (b)(4) (casts doubts on the credibility or accuracy of any

evidence). The same is true of documents that reflect an improper, politically motivated purpose

in prosecuting Mr. Bannon. Id.



                                                 11
        Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 12 of 14




       While the Government devotes several pages to caselaw pertaining to selective

prosecution, [Doc. 31 at 24 -28], that discussion misses the mark. Mr. Bannon has not, at this stage,

raised a selective prosecution defense. There is no mention of that legal theory in our motion to

compel. The authority that the Government discusses in the selective prosecution context –

pertaining to discriminatory effect and discriminatory intent – simply are not applicable at this

stage of discovery given that we are seeking information based upon different authority, for

different purposes. Under Local R. Crim. P. 5.1(b)(3) & (b)(4) the Government must search for

and disclose any information that tends to show that the prosecution was politically motivated or

initiated or pursued by any person who was biased against Mr. Bannon.


                                         CONCLUSION

       Wherefore, for the reasons set forth above, Mr. Stephen K. Bannon respectfully requests

an Order compelling the Government to produce the requested discovery materials so that he may

prepare a defense.

Dated: March 8, 2022                          Respectfully submitted,

                                              SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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                                                 12
Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 13 of 14




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                              13
        Case 1:21-cr-00670-CJN Document 33 Filed 03/08/22 Page 14 of 14




                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of March 2022, a copy of the foregoing REPLY

IN SUPPORT OF DEFENDANT’S MOTION TO COMPEL DISCOVERY was served via the

Court’s CM/ECF system on registered parties and counsel.


                                             /s/ M. Evan Corcoran
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                                             14
